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02/12/2019 09:09 AM CST




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                                Nebraska Court of A ppeals A dvance Sheets
                                     26 Nebraska A ppellate R eports
                                                   SPEERS v. JOHNS
                                                Cite as 26 Neb. App. 889



                                        Brandon G. Speers, appellant, v.
                                         Natalie Johns, now known as
                                           Natalie Daniel, appellee.
                                                     ___ N.W.2d ___

                                        Filed February 12, 2019.   No. A-17-1189.

                1.	 Child Custody: Appeal and Error. Child custody determinations are
                    matters initially entrusted to the discretion of the trial court, and
                    although reviewed de novo on the record, the trial court’s determination
                    will normally be affirmed absent an abuse of discretion.
                2.	 Judgments: Words and Phrases. An abuse of discretion occurs when
                    a trial court bases its decision upon reasons that are untenable or unrea-
                    sonable or if its action is clearly against justice or conscience, reason,
                    and evidence.
                3.	 Child Custody: Intent. When a parent sharing joint legal and physi-
                    cal custody seeks to modify custody and relocate, that parent must first
                    prove a material change in circumstances affecting the best interests of a
                    child by evidence of a legitimate reason to leave the state, together with
                    an expressed intention to do so.
                4.	 Modification of Decree: Child Custody: Proof: Intent. Proving an
                    intent to leave the state does not necessitate that physical custody be
                    modified, but the intent to move illustrates the likelihood that there is
                    a need for considering some sort of modification that would reflect the
                    new circumstances.
                5.	 Child Custody: Proof: Intent. Once the party seeking modification
                    has met the threshold burden of showing an expressed intention to
                    leave the state, the separate analyses of whether custody should be
                    modified and whether removal should be permitted necessarily become
                    intertwined.
                6.	 Child Custody. A court evaluates whether the best interests of the child
                    are furthered by the relocating parent’s obtaining sole physical custody
                    and moving the child out of state.
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                               SPEERS v. JOHNS
                            Cite as 26 Neb. App. 889
 7.	 ____. As a practical matter, the existence of a joint physical custody
     relationship is likely to make it more difficult for the relocating parent
     to meet the burden associated with relocation.
 8.	 Modification of Decree. Changes in circumstances which were in the
     contemplation of the parties at the time the prior decree or order was
     entered do not qualify as material changes in circumstances for purposes
     of modifying a decree.
 9.	 Modification of Decree: Child Custody. If the alleged reason for a cus-
     todial parent to leave a state was contemplated at the time of the entry of
     the prior order, such reason to leave cannot be considered legitimate.
10.	 Child Custody. A move to reside with a custodial parent’s new spouse
     who is employed and resides in another state may constitute a legitimate
     reason for removal.
11.	 Child Custody: Visitation. There are three broad considerations ordi-
     narily to be employed in determining whether removal to another
     jurisdiction is in a child’s best interests: (1) each parent’s motives for
     seeking or opposing the move; (2) the potential that the move holds for
     enhancing the quality of life for the child and the custodial parent; and
     (3) the impact such a move will have on contact between the child and
     the noncustodial parent, when viewed in the light of reasonable visita-
     tion arrangements.
12.	 Child Custody. The ultimate question in evaluating the parties’ motives
     in seeking removal of a child to another jurisdiction is whether either
     party has elected or resisted a removal in an effort to frustrate or manip-
     ulate the other party.
13.	 ____. The list of factors to be considered in determining the potential
     that the removal to another jurisdiction holds for enhancing the quality
     of life of the parent seeking removal and of the children should not be
     misconstrued as setting out a hierarchy of factors. Depending on the cir-
     cumstances of a particular case, any one factor or combination of factors
     may be variously weighted.
14.	 Child Custody: Visitation. Consideration of the impact of removal
     of a child to another jurisdiction on the contact between a child and
     the noncustodial parent, when viewed in light of reasonable visitation
     arrangements, focuses on the ability of the court to fashion a reasonable
     visitation schedule that will allow the noncustodial parent to maintain a
     meaningful parent-child relationship.
15.	 ____: ____. Generally, a reasonable visitation schedule is one that
     provides a satisfactory basis for preserving and fostering a child’s rela-
     tionship with the noncustodial parent, which necessitates considering
     the frequency and total number of days of visitation and the distance
     traveled and expense incurred.
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                              SPEERS v. JOHNS
                           Cite as 26 Neb. App. 889
16.	 ____: ____. Indications of a custodial parent’s willingness to comply
     with a modified visitation schedule have a place in analyzing the reason-
     ableness of a visitation schedule.

   Appeal from the District Court for Lancaster County: Susan
I. Strong, Judge. Affirmed.
   Eddy M. Rodell for appellant.
   Kelly T. Shattuck, of Vacanti Shattuck, for appellee.
   Moore, Chief Judge, and Bishop and A rterburn, Judges.
   A rterburn, Judge.
                      I. INTRODUCTION
   Brandon G. Speers appeals from an order of modification
entered in the district court for Lancaster County. On appeal,
he assigns as error the district court’s decision to modify the
prior order granting the parties joint physical custody by grant-
ing sole physical custody of the minor child to Natalie Johns,
now known as Natalie Daniel, and granting Natalie’s request
to remove the minor child to the State of Iowa. He argues that
Natalie failed to prove that a material change of circumstances
existed since the entry of the prior order. He further argues that
Natalie did not have a legitimate reason to remove their child
from the state and that removal is not in her best interests. For
the reasons set forth below, we affirm.
                      II. BACKGROUND
   Brandon and Natalie are the biological parents of Paisley S.,
a daughter born out of wedlock in December 2012. Following
a brief hearing on August 23, 2016, at which both parties and
no other witnesses testified, the court approved a stipulated
paternity order and parenting plan. Pursuant to the parties’
joint stipulation and parenting plan, they shared joint legal and
physical custody of Paisley. Although Paisley’s primary resi-
dence was Natalie’s home, the parties shared physical place-
ment of Paisley on an “8-6 basis.” This meant that Natalie had
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                          SPEERS v. JOHNS
                       Cite as 26 Neb. App. 889
physical placement and parenting time with Paisley for 8 days
during every 14-day period while Brandon had physical place-
ment and parenting time for the remaining 6 days, an arrange-
ment the parties had followed since separating in 2014. During
the summer, the parties agreed to alternate care of Paisley on
a “week on - week off” basis. The parties agreed to an upward
deviation in child support whereby Brandon would pay to
Natalie $450 per month in exchange for not sharing in a full
range of Paisley’s expenses. The division of holidays and other
financial obligations were also set forth in detail in the joint
stipulation and parenting plan.
   Natalie filed a complaint to modify on June 15, 2017. In
her complaint, Natalie stated that a material change warranted
modifying the original decree and parenting plan because she
had married a man who lived in Glidden, Iowa. She contended
modification was in Paisley’s best interests and requested that
she be granted primary physical custody and the ability to
remove Paisley to live in Glidden. A trial on Natalie’s com-
plaint was held on November 1.
   At trial, Natalie testified in her own behalf and her husband
testified on her behalf, while Brandon testified in his own
behalf and his neighbor-landlord and his sister testified on his
behalf. At the time of trial, Paisley was enrolled in preschool in
Waverly, Nebraska, and during her parenting time with Natalie,
lived in a two-bedroom apartment in Lincoln, Nebraska. Natalie
married Gregory Daniel in May 2017. Gregory lives outside
of Glidden, which is approximately 168 miles from Waverly,
where Brandon lives. Gregory works as a diesel mechanic for a
tractor company and anticipated taking over his family’s 1,500-
acre farm near Glidden within the year following trial due to
his father’s impending retirement. At the time of the hearing,
Natalie was pregnant and was due to give birth on Christmas
Eve 2017. When Natalie and Gregory found out she was preg-
nant, they married in May 2017.
   Natalie testified that allowing her to remove Paisley to
Glidden would be beneficial, because Natalie would no
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                         SPEERS v. JOHNS
                      Cite as 26 Neb. App. 889
longer need to work and would have more time with Paisley.
Moreover, instead of living in a two­-bedroom apartment, they
would be living on an acreage in a 2,800-square-foot house.
Gregory confirmed that he would support Natalie being a stay-
at-home mother and that he had sufficient income for them par-
ticularly once he took over the farm. Gregory anticipated that
his income would double once he took over his father’s farm-
ing operation. Natalie testified that her and Gregory’s overall
expenses would be greatly reduced by allowing removal in that
they would no longer have two households to support and there
would be no childcare expenses. Natalie noted that throughout
Paisley’s life, Natalie has been her primary caretaker and pro-
vided her primary residence. Natalie has been the primary par-
ent to take Paisley to her medical appointments and has more
flexibility to miss work when Paisley is ill. Natalie has worked
as a hair stylist.
   Natalie acknowledged that her family and Brandon’s fam-
ily all live in Nebraska and see Paisley on a regular basis.
She noted, however, that Gregory’s parents live within 8 miles
of Glidden and that his extended family also lives nearby.
Paisley would also benefit from slightly smaller class sizes in
the Glidden schools as compared to the Waverly schools. As
compared to Natalie’s apartment in Lincoln, Gregory’s home
in Glidden provides more space for Paisley to play and “run
around.” Gregory also mentioned having pets, which Paisley
enjoys playing with. As of the time of trial, Gregory had not
explored employment opportunities in Nebraska. He testified
that he could not move due to his current and future work on
the family farm.
   Evidence was produced during trial that showed Natalie and
Gregory started dating in May 2015. Natalie had considered
the possibility of marrying Gregory and moving to Glidden
prior to the court’s order dated August 23, 2016. In particular,
Natalie sent Brandon a letter stating that Gregory would be
unable to move to Waverly and that her hope was to marry him
and start a family with him. At the time the letter was written,
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                         SPEERS v. JOHNS
                      Cite as 26 Neb. App. 889
Natalie said the idea of marriage was a possibility that was
in her mind but was not yet a firm plan. She further clarified
that Gregory had not at that time asked her to marry him, and
she only contemplated moving away from Lancaster County if
some sort of material change occurred, specifically an engage-
ment to be married. Gregory noted that they did not discuss
marriage until the spring of 2017.
   Natalie acknowledged that Brandon also lives on an acre-
age outside of Waverly where the parties lived together for a
period of time. She described Brandon as a “great dad” and
noted that they communicate well. She testified that if the court
denied removal, she would remain in Lincoln and would want
the then-existing paternity order and parenting plan to remain
in effect.
   Brandon also testified about the letter received from Natalie
prior to the August 2016 settlement. He acknowledged that
shortly before the letter was written, he was in a long-term dat-
ing relationship with a woman who lived in Seward, Nebraska.
He had told Natalie of the possibility that he might move
there. However, before the parties reached their settlement
agreement, he had ended that relationship in part because he
did not want Paisley to have to move. Brandon understood
the letter as relaying a conversation Natalie and Gregory
had regarding Gregory’s inability to move to Nebraska and
Natalie’s desire to marry him in the future. Later, in January
2017, Brandon and Natalie discussed her possible move, and
Brandon said he wanted to stay involved in Paisley’s daily life
and “was absolutely not okay” with her relocation to Iowa. On
cross-examination, Brandon acknowledged that neither Natalie
nor he knew what the future held at the time the letter was
written and that he understood the letter to be dependent on
future events.
   Brandon testified that he lives in a 1,100-square-foot house
located on 6 acres outside of Waverly and is employed as a
diesel mechanic. When Paisley is with Brandon, they often
do chores related to raising a few calves. For recreation, they
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                         SPEERS v. JOHNS
                      Cite as 26 Neb. App. 889
often play outside and go fishing. On his weekends, Brandon
always takes Paisley to church. With family nearby, Brandon
rarely utilizes a babysitter. Brandon testified that his family
lives near enough to Waverly that they usually get together to
see Paisley on the weekends he has parenting time. Additionally,
Brandon noted that Natalie’s family lives near the Waverly
area as well.
   Brandon stated his concerns that there would be no way
for him to remain an involved parent if Paisley were removed
to Glidden, some 21⁄2 hours away from Waverly. Accordingly,
Brandon requested custody of Paisley if Natalie were to move
to Iowa. Nonetheless, Brandon acknowledged his belief that
Paisley’s care would not suffer if she relocated to Glidden,
and he confirmed that Natalie has never tried to keep Paisley
from him or harm their relationship. Both witnesses called by
Brandon testified to both parties’ capable and qualified parent-
ing abilities.
   While acknowledging that Natalie was a good mother,
Brandon expressed concerns for Paisley if removal was granted.
He noted that at times, Paisley can be “a hard one to handle”
and that Natalie has called him for help to calm Paisley down.
He noted that Paisley was comfortable with the current living
arrangement and had friends and extended family in Nebraska.
If removal was allowed, Brandon would not be able to be
involved in Paisley’s day-to-day activities but would be rele­
gated to being a “weekend dad.” He believed that it would be
impossible to maintain the level of relationship he now enjoyed
with Paisley.
   Following trial, the court entered its order on November 9,
2017. The court granted Natalie’s complaint to modify cus-
tody and to remove Paisley to Glidden. Joint legal custody
was maintained, but Natalie was granted sole physical cus-
tody. The court awarded Brandon parenting time on alternat-
ing weekends during the school year. In the summer, the court
established a “2 weeks on and 1 week off” schedule, with
Brandon having the 2-week periods. Regarding holidays, the
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                         SPEERS v. JOHNS
                      Cite as 26 Neb. App. 889
court’s previous order was modified to award Brandon parent-
ing time every year for the Thanksgiving holiday weekend and
spring break. Exchanges of Paisley were ordered to take place
in Shelby, Iowa.
   Finally, the court modified the amount of child support to
be paid by Brandon based on the transition from joint to sole
physical custody, which included a downward deviation based
on travel expenses. No separate error was assigned to the
child support determination outside of Brandon’s claim that no
modification of parenting time should occur.
   Brandon now appeals.
                III. ASSIGNMENTS OF ERROR
   Brandon assigns the district court erred in finding that
a material change of circumstance existed which justified
modification of the stipulated order of paternity to sole cus-
tody, determining that Natalie had a legitimate reason to seek
removal of Paisley to Iowa, and finding that removal was in
Paisley’s best interests.
                 IV. STANDARD OF REVIEW
   [1,2] Child custody determinations are matters initially
entrusted to the discretion of the trial court, and although
reviewed de novo on the record, the trial court’s determina-
tion will normally be affirmed absent an abuse of discretion.
Schrag v. Spear, 290 Neb. 98, 858 N.W.2d 865 (2015). An
abuse of discretion occurs when a trial court bases its deci-
sion upon reasons that are untenable or unreasonable or if
its action is clearly against justice or conscience, reason, and
evidence. Id.                         V. ANALYSIS
   [3,4] When a parent sharing joint legal and physical custody
seeks to modify custody and relocate, that parent must first
prove a material change in circumstances affecting the best
interests of a child by evidence of a legitimate reason to leave
the state, together with an expressed intention to do so. Bird v.
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                          SPEERS v. JOHNS
                       Cite as 26 Neb. App. 889
Bird, 22 Neb. App. 334, 853 N.W.2d 16 (2014). Proving such
an intent does not necessitate that physical custody be modi-
fied, but the intent to move illustrates the likelihood that there
is a need for considering some sort of modification that would
reflect the new circumstances. Brown v. Brown, 260 Neb. 954,
621 N.W.2d 70 (2000).
   [5-7] Once the party seeking modification has met this
threshold burden, the separate analyses of whether custody
should be modified and whether removal should be permit-
ted necessarily become intertwined. Id. The question becomes
whether the best interests of the child are furthered by the
relocating parent’s obtaining sole physical custody and moving
the child out of state. Bird v. Bird, supra. As a practical matter,
the existence of a joint physical custody relationship is likely
to make it more difficult for the relocating parent to meet the
burden associated with relocation. Id.

                        1. M aterial Change
                          of Circumstances
   Brandon argues that Natalie has failed to demonstrate a
material change of circumstances not contemplated at the time
the stipulated decree of paternity was entered. In oral argu-
ment, counsel for Natalie conceded that the evidence, particu-
larly Natalie’s letter, establishes that Natalie had contemplated
“in the abstract” the possibility of marrying Gregory prior to
reaching agreement on the 2016 stipulated order, but that mar-
riage was only a possibility at that time and was not part of
any firm plan. Natalie notes that Gregory did not ask her to
marry him until her pregnancy was discovered in the spring
of 2017.
   [8,9] Our analysis of this issue is complicated by the ten-
sion between separate lines of cases. On one hand is Brown
v. Brown, supra, which holds that a parent sharing joint legal
and physical custody proves a material change of circum-
stances affecting the best interests of a child by presenting
evidence of a legitimate reason to leave the state, together
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                         SPEERS v. JOHNS
                      Cite as 26 Neb. App. 889
with an expressed intention to do so. Under this analysis, the
material change of circumstances is basically subsumed in
the analysis of whether there is a legitimate reason to leave
the state and an expressed intent to do so, an issue which
in this case is fairly clear cut. However, changes in circum-
stances which were in the contemplation of the parties at the
time the prior decree or order was entered do not qualify as
material changes in circumstances for purposes of modify-
ing a decree. Desjardins v. Desjardins, 239 Neb. 878, 479
N.W.2d 451 (1992); McDonald v. McDonald, 21 Neb. App.
535, 840 N.W.2d 573 (2013). In this case, it can be argued
that the reason for leaving is not legitimate in that it was con-
templated at the time the 2016 order granting joint legal and
physical custody was entered. Under these circumstances, we
find that an analysis must first be performed as to whether
the stated reason for leaving was contemplated at the time the
2016 stipulated order was entered in order to then determine
whether that reason is indeed a legitimate reason to leave.
Stated another way, we find that if the alleged reason for a
custodial parent to leave was contemplated at the time of the
entry of the prior order, such reason to leave cannot be con-
sidered legitimate.
   The district court in this case did not perform an analysis
of this issue in the foregoing context. However, the district
court squarely addressed this issue in the context of assessing
the parties’ motives for seeking and opposing removal. See
Farnsworth v. Farnsworth, 257 Neb. 242, 597 N.W.2d 592(1999). The district court found that Natalie’s “marriage and
pregnancy constitute a material change of circumstances which
were not fully contemplated at the time of the original decree.”
As such, we find that the record on this point is sufficient for
our review.
   It is clear from the evidence that the possibility of Natalie
and Gregory at some point becoming engaged and married was
well known to the parties prior to the entry of the August 2016
stipulated order. Natalie’s letter to Brandon also demonstrates
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                         SPEERS v. JOHNS
                      Cite as 26 Neb. App. 889
that at the time of its writing, both parties were involved
in relationships that could lead to each of them wanting to
move from Lancaster County. In particular, Natalie informed
Brandon that due to Gregory’s employment and his assump-
tion of responsibility for operating his parents’ farm, Gregory
would not be able to leave Iowa. Therefore, if Natalie and
Gregory were married at some future time, Natalie would want
to move to Iowa with Paisley.
   However, the evidence also demonstrates that at the time
these issues were discussed, they constituted possibilities as
opposed to expectations. Indeed, Brandon’s relationship with
his girlfriend ended. Natalie’s relationship with Gregory con-
tinued, however, eventually resulting in pregnancy, a mar-
riage proposal, and a wedding. Natalie testified that at the
time the parties negotiated the stipulated order, she had to do
so based on conditions as they existed at the time, since she
did not know if Gregory would ever propose marriage to her.
Brandon acknowledged that Natalie wrote the letter to him in
response to his statements that he may be moving to Seward
to be closer to his girlfriend. In his testimony, he agreed that
the possibility of both parties moving in the future was hypo-
thetical and depended on whether their current relationships
developed further. He agreed that neither of them knew what
the future held at the time they entered into the stipulated
order of paternity.
   On this record, we cannot say that the district court abused
its discretion in finding that Natalie’s marriage to Gregory was
not fully contemplated at the time of the prior order. While the
possibility of marriage existed, it was not planned or even pro-
posed at that point in time. Consequently, Natalie negotiated
with Brandon based on conditions as they stood at the time as
opposed to uncertain future possibilities. As such, we cannot
find that her reason to leave was contemplated to a sufficient
degree to find that there was no material change of circum-
stances from the conditions that existed at the time the August
2016 order was entered.
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                      2. Legitimate R eason
                          for R emoval
   [10] To prevail on a motion to remove a minor child to
another jurisdiction, the custodial parent must first satisfy the
court that he or she has a legitimate reason for leaving the
state. Daniels v. Maldonado-Morin, 288 Neb. 240, 847 N.W.2d
79 (2014). The Nebraska Supreme Court has determined that
a move to reside with a custodial parent’s new spouse who is
employed and resides in another state may constitute a legiti-
mate reason for removal. Colling v. Colling, 20 Neb. App. 98,
818 N.W.2d 637 (2012). Having found that the marriage to
Gregory was not sufficiently contemplated at the time the
August 2016 paternity order was entered, Natalie has demon-
strated a legitimate reason for leaving the state.

                   3. Best Interests of Child
   [11] After demonstrating a legitimate reason for leaving the
state exists, the custodial parent must next show that it is in
the child’s best interests to continue living with him or her.
Daniels v. Maldonado-Morin, supra. The paramount consider-
ation is whether the proposed move is in the best interests of
the child. Id. There are three broad considerations ordinarily
to be employed in determining whether removal to another
jurisdiction is in a child’s best interests: (1) each parent’s
motives for seeking or opposing the move; (2) the potential
that the move holds for enhancing the quality of life for the
child and the custodial parent; and (3) the impact such a move
will have on contact between the child and the noncustodial
parent, when viewed in the light of reasonable visitation
arrangements. Brown v. Brown, 260 Neb. 954, 621 N.W.2d
70 (2000).

                    (a) Each Parent’s Motives
   [12] The ultimate question in evaluating the parties’ motives
is whether either party has elected or resisted a removal in an
effort to frustrate or manipulate the other party. McLaughlin
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v. McLaughlin, 264 Neb. 232, 647 N.W.2d 577 (2002). In
this case, we find no evidence that either party has acted in
bad faith.
   Natalie’s primary motive in seeking removal is her desire to
live with her husband, who cannot move due to his work on his
family’s farm. She notes that in Iowa, she would not have to
work outside the home and could devote more time to Paisley
and her newborn child.
   Brandon opposes removal based on the close relationship he
has developed with Paisley. Prior to trial, Paisley spent nearly
half of her time with Brandon. Brandon wishes to maintain
this level of involvement with her. He wants to remain a part
of her daily life and be able to be present for her activities.
This level of involvement would be impossible if removal
was granted.
   We find that both parents have valid reasons for and against
removal of their child to Iowa. Their motives being equal, this
factor does not weigh for or against removal.

                       (b) Quality of Life
   [13] In determining the potential that the removal to
another jurisdiction holds for enhancing the quality of life
of the child and the custodial parent, a court should evalu-
ate the following considerations: (1) the emotional, physical,
and developmental needs of the child; (2) the child’s opinion
or preference as to where to live; (3) the extent to which the
relocating parent’s income or employment will be enhanced;
(4) the degree to which housing or living conditions would be
improved; (5) the existence of educational advantages; (6) the
quality of the relationship between the child and each parent;
(7) the strength of the child’s ties to the present community
and extended family there; (8) the likelihood that allowing
or denying the removal would antagonize hostilities between
the two parties; and (9) the living conditions and employ-
ment opportunities for the custodial parent because the best
interests of the child are interwoven with the well-being of
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the custodial parent. Boyer v. Boyer, 24 Neb. App. 434, 889
N.W.2d 832 (2017). The list of factors to be considered in
determining the potential that the removal to another jurisdic-
tion holds for enhancing the quality of life of the parent seek-
ing removal and of the children should not be misconstrued as
setting out a hierarchy of factors. McLaughlin v. McLaughlin,
supra. Depending on the circumstances of a particular case,
any one factor or combination of factors may be variously
weighted. Id.
                 (i) Factors Favoring Removal
   Both parents have been closely involved in meeting Paisley’s
emotional, physical, and developmental needs. Natalie has in
some areas been the primary caregiver. For example, she has
taken Paisley to the majority of her medical appointments. If
removal were granted, Natalie would have a greater ability to
meet Paisley’s needs, since she would not have to work while
providing care for Paisley and her younger sibling.
   The third and ninth factors in the best interests determina-
tion are best examined together. Given Natalie’s intention to be
a stay-at-home mother, her own income will not be enhanced
by the move. However, the income of the household in which
she is living will be substantially higher, particularly when
Gregory takes over responsibility for the family farm. Natalie
will no longer have to pay rent and daycare expenses and
would not have to commute between her apartment in Lincoln
and her husband’s residence in Iowa. However, it does appear
that she could resume her career as a hair stylist in Iowa if she
chose to do so or conditions demanded it.
   If removal was denied, Paisley would split her time
between three residences. During Natalie’s parenting time,
she would live in a two-bedroom apartment primarily, but
would regularly go to Iowa during weekends, holidays, and
summer vacation. The remainder of her time would be spent
with Brandon. If removal was granted, the apartment would
be eliminated and she would primarily live in the house
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owned by Gregory in Iowa. As a result, she would spend 100
percent of her time living in single family residences located
on acreages.
                       (ii) Neutral Factors
   Paisley is of a young age and did not testify as to her pref-
erence. Although there was some general testimony regard-
ing smaller class sizes in the Glidden schools, there was
no significant testimony demonstrating one location to have
an educational advantage over the other. Finally, regardless
of outcome, there are likely to be hard feelings between
the parties. However, the evidence in this trial demonstrated
that despite their differences, the parties have maintained an
amicable relationship. Both parties were very complimen-
tary of each other’s parenting skills. Natalie demonstrated a
strong desire to nurture and encourage a strong bond between
Paisley and Brandon even with the distance that would exist
between them.
                 (iii) Factors Against Removal
   The evidence establishes that all of Paisley’s extended fam-
ily lives in Nebraska and that she sees those family members
on a regular basis. In addition, it is likely that the quality of
relationship currently enjoyed by Brandon and Paisley will
suffer given the loss of frequent contact that would be occa-
sioned by a move to Iowa. While the parenting plan attempts
to restore time lost during the school year with extra time
in the summer, the bottom line is that the day-to-day ability
of Brandon to remain involved and active in Paisley’s life
is diminished.
                 (iv) Quality of Life Conclusion
   The district court concluded that as a whole, the quality of
life factors weighed heavily in favor of removal. In our view,
these factors are very close. However, based on our standard of
review, we cannot say that the district court abused its discre-
tion in reaching its conclusion.
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                         SPEERS v. JOHNS
                      Cite as 26 Neb. App. 889
              (c) Impact on Noncustodial Parent’s
                       Contact With Child
   [14-16] The third factor in the best interests determination
is the impact of the move on the contact between the child and
the noncustodial parent, when viewed in light of reasonable
visitation arrangements. Maranville v. Dworak, 17 Neb. App.
245, 758 N.W.2d 70 (2008). This consideration focuses on the
ability of the court to fashion a reasonable visitation schedule
that will allow the noncustodial parent to maintain a mean-
ingful parent-child relationship. Id. Generally, a reasonable
visitation schedule is one that provides a satisfactory basis for
preserving and fostering a child’s relationship with the noncus-
todial parent. Id. Of course, the frequency and the total number
of days of visitation and the distance traveled and expense
incurred go into the calculus of determining reasonableness.
Id. Indications of the custodial parent’s willingness to comply
with a modified visitation schedule also have a place in this
analysis. Id.   There will be an impact from the move on the contact
between Brandon and Paisley. Brandon will no longer enjoy
the frequent in-person contact that he has enjoyed to this point
in Paisley’s life. He will not be able to share in her day-to-
day life to the extent that would be possible if removal was
denied. The district court noted in its analysis that Paisley
would have to travel to and from Iowa frequently, regard-
less of the decision on removal. The court further noted that
Brandon would receive significant parenting time in the sum-
mer and on holidays. The court also noted Natalie’s intent to
allow extra time to Brandon when she travels to Nebraska to
see family.
   We agree with the district court’s confidence that the par-
ties will both strive to preserve and develop the relationship
between father and daughter despite the distance between
them. However, we must conclude that this relationship will
not be of the same quality and depth that could occur were
removal denied.
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              26 Nebraska A ppellate R eports
                         SPEERS v. JOHNS
                      Cite as 26 Neb. App. 889
                  (d) Best Interests Conclusion
   Removal cases rank among the most difficult decisions
that a district court or a reviewing court is required to make.
In this case, both parents have demonstrated their dedica-
tion to Paisley both in their testimony and their cooperative
effort to provide her a safe and secure childhood. The district
court concluded overall that Paisley’s interests would be best
served by allowing removal. Reasonable minds may differ
with the court’s conclusion. However, we are constrained by
our standard of review. We recognize that the district court
had the opportunity to see and hear the testimony of the par-
ties. As such, we cannot find that the district court abused its
discretion in concluding that Natalie’s request for removal
should be granted. We therefore affirm the decision of the
district court.
                      VI. CONCLUSION
   The district court did not abuse its discretion in grant-
ing Natalie’s request to modify physical custody and remove
Paisley to Iowa.
                                                  A ffirmed.
